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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 15-cv-61446-BLOOM/Valle

 CIRCUITRONIX, LLC,
 a Florida limited liability company,

         Plaintiff,

 v.

 SUNNY KAPOOR,
 an individual

       Defendant.
 ___________________________________/

 SUNNY KAPOOR,
 an individual

         Counter-Plaintiff,

 v.

 RISHI KUKREJA,
 an individual, and

 CIRCUITRONIX, LLC,
 a Florida limited liability company

       Counter-Defendants.
 ___________________________________/

      COUNTER-DEFENDANT CIRCUITRONIX, LLC’S ANSWER AND AFFIRMATIVE
       DEFENSES TO COUNTER-PLAINTIFF SUNNY KAPOOR’S COUNTERCLAIM
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        Counter-Defendant Circuitronix, LLC (“Circuitronix” or “Counter-Defendant”) hereby

 answers Counter-Plaintiff Sunny Kapoor’s (“Kapoor” or “Counter-Plaintiff”) Counterclaim as

 follows:

                                         INTRODUCTION

        1.      Counter-Defendant admits that Counter-Plaintiff purports to bring this action for

 damages alleged, but denies that Counter-Plaintiff is entitled to the relief sought. Counter-

 Defendant denies the remainder of Counter-Plaintiff’s allegations in ¶ 1.

                                          JURISDICTION

        2.      Admitted solely for purposes of jurisdiction.

        3.      Admitted.

        4.      Denied.

                            GENERAL FACTUAL ALLEGATIONS

        5.      Admitted that Circuitronix is a business that specializes in, amongst other things,

 including but not limited to plastic injection molded parts and tooling, precision sheet metal

 extrusion, stamping and machine parts, silicone rubber keypads, membrane switches, printed

 circuit board assemblies in the manufacturing and distribution of flexible, rigid-flex and rigid

 printed circuit boards for a variety of applications, including automotive, industrial, lighting, and

 security systems.

        6.      Admitted that Kapoor was an employee of Circuitronix, who was promoted to an

 executive capacity as Assistant Chief Executive Officer when he was relocated to Hong Kong. See

 D.E. 1-1 at ¶ 2. Denied as to the remainder.

        7.      Admitted.

        8.      Admitted.



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           9.    Admitted.

           10.   The document speaks for itself. Denied as to the remainder.

           11.   The document speaks for itself. Denied as to the remainder.

           12.   Denied.

           13.   Denied.

           14.   Denied.

           15.   Denied.

           16.   Admitted that Circuitronix withheld wages from Kapoor, which are to be deducted

 from the $267,791.51 Kapoor owes Circuitronix as a Termination Fee. Denied as to the remainder.

           17.   Admitted that Circuitronix terminated Kapoor’s U.S. employment on March 15,

 2015 due to various breaches of his employment agreements with Circuitronix. Denied as to the

 remainder.

           18.   The document speaks for itself. Denied as to the remainder.

           19.   Admitted that Circuitronix withheld wages from Kapoor, which are to be deducted

 from the $267,791.51 Kapoor owes Circuitronix as a Termination Fee. Denied as to the remainder.

           20.   Admitted that counsel for Kapoor sent Circuitronix a civil theft demand letter on

 June 26, 2015. Denied as to the remainder.

                             COUNT I – BREACH OF CONTRACT
                                    (As to Circuitronix)

           21.   Counter-Defendant re-alleges and incorporates paragraphs 1-20 as if fully set forth

 herein.

           22.   Admitted.

           23.   The document speaks for itself. Denied as to the remainder.

           24.   The document speaks for itself. Denied as to the remainder.

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            25.      The document speaks for itself. Denied as to the remainder.

            26.      Denied.

            27.      Denied.

            28.      The document speaks for itself. Denied as to the remainder.

                                 COUNT II – UNLAWFUL RETALIATION
                                           (As to Circuitronix)

            29.      Counter-Defendant re-alleges and incorporates paragraphs 1-20 as if fully set forth

 herein.

            30.      Admitted that Kapoor was an employee of Circuitronix. Denied as to the remainder.

            31.      Denied.

            32.      Denied.

            33.      Denied.

            34.      Denied.

            35.      Denied.

            36.      Admitted that Kapoor was terminated by Circuitronix due to breaches of his

 employment agreements. Denied as to the remainder.

            37.      Denied.

                                          COUNT III – CIVIL THEFT1
                                             (As to Circuitronix)

            38.      Counter-Defendant re-alleges and incorporates paragraphs 1-20 as if fully set forth

 herein.

            39.      Admitted that Circuitronix withheld wages from Kapoor, which are to be deducted

 from the amount he owes as a Termination Fee. Denied as to the remainder.



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     Circuitronix is moving to dismiss Count III.

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           40.    Admitted that counsel for Kapoor sent Circuitronix a civil theft demand letter.

 Denied as to the remainder.

           41.    Admitted that the civil theft letter was sent to Circuitronix more than thirty days

 ago. Denied as to the remainder.

                                   COUNT IV – UNPAID WAGES
                                       (As to Circuitronix)

           42.    Counter-Defendant re-alleges and incorporates paragraphs 1-20 as if fully set forth

 herein.

           43.    Denied.

           44.    Admitted that Kapoor was employed by Circuitronix. Denied as to the remainder.

           45.    Admitted that Circuitronix withheld wages from Kapoor, which are to be deducted

 from the amount he owes as a Termination Fee. Denied as to the remainder.

           46.    Denied.

           47.    Admitted that Counter-Plaintiff seeks monies from Circuitronix. Denied as to the

 remainder.

           48.    Denied.

           49.    Denied.

                                    DEMAND FOR JURY TRIAL

           Pursuant to the provisions of Rule 38(b) of the Federal Rules of Civil Procedure, Counter-

 Defendant demands a trial by jury on all issues so triable in this matter.

                                         GENERAL DENIAL

           Unless specifically admitted in the foregoing answer, all allegations in Counter-Plaintiff’s

 Counterclaim are denied.




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                                             DEFENSES

        In further response to the allegations of the Counterclaim, Counter-Defendant alleges the

 following affirmative defenses.

                                            First Defense

        Counter-Plaintiff’s Counterclaim fails to state a claim for which relief may be granted

 against Circuitronix.

                                           Second Defense

        Counter-Plaintiff’s claims are barred by the doctrine of unclean hands. Specifically, as set

 forth in detail in the Complaint, Counter-Plaintiff engaged in inequitable conduct including

 breaches of fiduciary duty and the duty of loyalty. Among other things, in violation of his fiduciary

 duties and duty of loyalty to Circuitronix, Counter-Plaintiff engaged in a pattern of self-dealing by

 disclosing and exploiting confidential and proprietary information of Circuitronix. Counter-

 Plaintiff also abused his role as a fiduciary of Circuitronix to position himself to compete with

 Circuitronix, using the company’s own confidential information for his personal gain.

                                            Third Defense

        Circuitronix is entitled to a setoff against any recovery by Counter-Plaintiff. Any amount

 recoverable by Counter-Plaintiff should be reduced by any amounts owed to Circuitronix. As set

 forth in detail in the Complaint, Counter-Plaintiff is liable to Circuitronix for damages arising from

 breach of contract, breach of the implied covenant of good faith and fair dealing, breach of

 fiduciary duty and the duty of loyalty, misappropriation of trade secrets, and tortious interference

 with an advantageous business relationship.

                                           Respectfully submitted,

                                           KOZYAK TROPIN & THROCKMORTON, LLP
                                           Counsel for Circuitronix, LLC
                                           2525 Ponce de Leon Blvd., 9th Floor
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

 Notices of Electronic Filing generated by CM/ECF on August 31, 2015 as filed with the Clerk of the

 Court using CM/ECF.


                                              By: /s/ James M. Slater
                                                  James M. Slater
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